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   SEA LIMITED, MOCO STUDIOS PRIVATE
11 LIMITED (F/K/A GARENA INTERNATIONAL
   I PRIVATE LIMITED), GARENA ONLINE
12 PRIVATE LIMITED, and APPLE INC.

13

14                    IN THE UNITED STATES DISTRICT COURT
15                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
16                                WESTERN DIVISION
17 KRAFTON, INC. and PUBG SANTA              Case No. 2:22-cv-00209-GW-MRW
18
   MONICA, INC.,                             DECLARATION OF SUK JIN BAE IN
                                             SUPPORT OF DEFENDANTS’
19                     Plaintiffs,           MOTION TO COMPEL
                                             ARBITRATION AND TO STAY
20       v.                                  LITIGATION
21 APPLE INC., GOOGLE, LLC,                  Date: June 2, 2022
   YOUTUBE LLC, SEA LIMITED, MOCO            Time: 8:30 a.m.
22
   STUDIOS PRIVATE LIMITED (F/K/A            Ctrm: 9D
                                             Judge: Honorable George H. Wu
23 GARENA INTERNATIONAL I
   PRIVATE LIMITED), AND GARENA
24
   ONLINE PRIVATE LIMITED,
25
                          Defendants.
26

27
                  REDACTED VERSION OF DOCUMENT PROPOSED
28                        TO BE FILED UNDER SEAL

         DECL. OF SUK JIN BAE ISO DEFENDANTS’ MOTION TO COMPEL ARBITRATION
                AND TO STAY LITIGATION / CASE NO. 2:22-CV-00209-GW-MRW
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 1         I, Suk Jin Bae, declare as follows:
 2
           1.     I am Senior Director, Strategy at Garena Online Private Limited (“Garena
 3

 4   Online”), one of the defendants in the above-captioned matter. I make this declaration

 5   from personal knowledge, and if called to testify, I could and would testify competently
 6
     thereto.
 7

 8                                  The “Battle Royale” Genre

 9         2.     Defendants Garena Online and Moco Studios Private Limited (f/k/a Garena
10
     International I Private Ltd.) (“Moco Studios”) are direct or indirect wholly owned
11

12   subsidiaries of Sea Limited (“Sea”) (collectively, “Garena”). Garena Online and Moco

13   Studios are the developer and publisher, respectively, of Free Fire, a mobile “battle
14
     royale” game that is available worldwide through Apple’s App Store (the “App Store”)
15

16   and Google’s Play Store (the “Play Store”).
17         3.     Games in the “battle royale” genre generally share a common goal: for the
18
     player to be the last man or team standing. Typically, large number of players will
19

20   “spawn” or drop in at the beginning of the game, parachuting into a bounded location
21   which shrinks over time. This bounded location is often referred to as a “safe zone” or
22
     “safe area.” These types of games typically incorporate exploration and scavenging
23

24   elements to assist with the players’ survival. Players then work to neutralize and/or
25   outlast all other opponents until only one player or team remains.
26
           4.     The battle royale genre gained popularity after the success of the Japanese
27

28   novel Battle Royale first published in 1999 as well as its film adaptation, and The Hunger
                                            1
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 1   Games franchise of books and movies first published in 2008. While there are many
 2
     earlier examples as well, for over a decade, there has been an abundance of games in this
 3

 4   genre: video game “mods” in Minecraft, DayZ, Btooom! Online, H1Z1: King of the Kill,

 5   Playerunknown’s Battlegrounds (“Battlegrounds”), Knives Out, Rules of Survival,
 6
     Fortnite Battle Royale, Free Fire, and Apex Legends, to name a few.
 7

 8         5.     Moco Studios began distributing Free Fire worldwide through the App Store

 9   and the Play Store in late 2017. It has continued to distribute the game ever since.
10
           6.     According to data.ai (f/k/a App Annie), a mobile application market data and
11

12   insights company that provides analytics pertaining to an application’s downloads,

13   revenue, ratings, and usage, Free Fire was the most downloaded mobile “battle royale”
14
     game worldwide in 2019, 2020, and 2021. True and correct copies of reports from data.ai
15

16   (f/k/a App Annie) are attached hereto as Exhibits 1, 2, and 3.
17        The 2018 DMCA Notice, Cease and Desist Letter, and Singapore Litigation
18
           7.     On January 16, 2018, Apple informed Moco Studios via e-mail that Krafton1
19

20   had filed a takedown notice against Free Fire on the App Store under 17 U.S.C. § 512 of
21   the Digital Millennium Copyright Act (“DMCA”). A true and correct copy of Apple’s
22
     email to Moco Studios is attached hereto as Exhibit 4. Krafton’s DMCA claim alleged
23

24   that Free Fire infringed Krafton’s rights in its own battle royale game, Battlegrounds.
25
     1
26   Krafton, Inc. was established on November 5, 2018 as a holding company for Bluehole’s
   video game subsidiary corporations, including PUBG Corp. In December 2020, Krafton,
27 Inc. merged with PUBG Corp., with Krafton, Inc. as the surviving entity. See
   https://press.pubg.com/PUBG-CORPORATION-MERGES-WITH-KRAFTON-INC. For
28 the purposes of this declaration, Krafton, Inc.2and its predecessor-in-interest, PUBG
   Corp , are collectively referred to as “Krafton ”
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 1         8.     On January 22, 2018, Garena received a cease-and-desist letter from
 2
     Krafton’s U.S. counsel alleging the same. A true and correct copy of that letter is attached
 3

 4   hereto as Exhibit 5. Garena did not receive any cease-and-desist communications from

 5   Krafton’s Singapore counsel.
 6
           9.     Several months later, on March 23, 2018, Krafton brought claims of
 7

 8   copyright infringement against Garena in the High Court of Singapore (the “2018

 9   Singapore Litigation”). A true and correct copy of Krafton’s March 23, 2018 Statement
10
     of Claim in PUBG Corp. v. Garena International I Pte Ltd and others, High Court Suit
11

12   No. 304 of 2018 (Singapore filed March 2018) (“Singapore Complaint”) is attached

13   hereto as Exhibit 6.
14
                                     The Settlement Agreement
15

16         10.    On April 12, 2019, Garena and Krafton entered into a
17   settlement agreement (the “Settlement Agreement”). A true and correct copy of the
18
     Settlement Agreement is attached hereto as Exhibit 7.
19

20                               The 2019 Arbitration Proceedings
21         11.    Krafton attempted to back out of the Settlement Agreement on April 16,
22
     2019, four days after the parties entered into the contract. Krafton alleged that the
23

24   Settlement Agreement was not valid. Because of Krafton’s about-face, Garena
25   commenced arbitration before the SIAC in Singapore to enforce the Settlement
26
     Agreement (the “2019 Arbitration”).
27

28         12.    Garena then applied for a stay of the 2018 Singapore Litigation pending
                                             3
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 1   resolution of the arbitration proceedings. The Singapore High Court granted the stay on
 2
     the basis of the arbitration clause, which was affirmed on appeal by the Singapore Court
 3

 4   of Appeal. A true and correct copy of the Singapore Court of Appeal’s Judgment in

 5   PUBG Corp. v. Garena International I Pte Ltd and others, Civil Appeal No. CA/CA
 6
     184/2019 (Singapore entered May 2020) (“Singapore Court of Appeal Judgment”) is
 7

 8   attached hereto as Exhibit 8.

 9         13.
10
                        A true and correct copy of                          is attached hereto
11

12   as Exhibit 9.

13         14.   On October 27, 2020, Krafton filed a notice of discontinuance with the
14
     Singapore High Court. A true and correct copy of the October 27, 2020 Notice of
15

16   Discontinuance in PUBG Corp. v. Garena International I Pte Ltd and others, High Court
17   Suit No. 304 of 2018 (Singapore filed October 2020) (“Notice of Discontinuance”) is
18
     attached hereto as Exhibit 10. Krafton
19

20

21         15.   Garena Online and Moco Studios continued to develop and publish Free Fire
22
     worldwide through the App Store and the Play Store.
23

24         16.   Free Fire is available on the App Store and the Play Store as both Free Fire
25   and Free Fire MAX. Free Fire MAX offers high-definition graphics and higher resolution.
26
     The applications are also inter-playable, so users of Free Fire and Free Fire MAX can
27

28   play together on all game modes. In addition, a user’s login information, progress, and
                                             4
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 1   items are maintained across both applications.
 2
             17.   Other than the actions taken in connection with the 2018 Singapore
 3

 4   Litigation, Krafton has never taken any action with respect to its January 2018 DMCA

 5   takedown notice under U.S. law.
 6
           The 2021 DMCA Notices, Cease and Desist Letters, and the Present Litigation
 7

 8           18.   On December 21, 2021, Garena received a cease-and-desist letter from

 9   Krafton’s U.S. counsel. A true and correct copy of that letter is attached hereto as Exhibit
10
     11.
11

12           19.   On December 21, 2021, Krafton submitted a DMCA notice with respect to

13   the distribution of Free Fire through the Play Store. Google informed Garena that
14
     Krafton had filed a notice regarding Free Fire on January 6, 2022. A true and correct
15

16   copy of that correspondence is attached hereto as Exhibit 12.
17           20.   On December 22, 2021, Krafton submitted two DMCA notices regarding the
18
     distribution of Free Fire through the App Store. Apple informed Moco Studios that
19

20   Krafton had filed these notices a day later, on December 23, 2021. A true and correct
21   copy of that correspondence is attached hereto as Exhibit 13.
22
             21.   Garena responded to Krafton’s 2021 cease-and-desist letter. A true and
23

24   correct copy of Garena’s responsive letter to Krafton is attached hereto as Exhibit 14.
25           22.   Garena also responded to Apple’s and Google’s notices regarding Krafton’s
26
     two DMCA notices against Free Fire. A true and correct copy of Garena’s responsive
27

28   letter to Apple is attached hereto as Exhibit 15. A true and correct copy of Garena’s
                                               5
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 1   responsive letter to Google is attached hereto as Exhibit 16.
 2
           23.    On January 10, 2022, Krafton and PUBG Santa Monica filed suit against
 3

 4   Garena, Apple, Google, and YouTube. Notably, Plaintiffs’ Complaint failed to note that

 5   Garena had already commenced an arbitration before the SIAC in Singapore
 6

 7

 8

 9                              The 2022 Arbitration Proceedings
10
           24.    On January 5, 2022, Garena commenced arbitration against Krafton before
11

12   the SIAC in Singapore. A true and correct copy of                               is

13   attached hereto as Exhibit 17. As discussed
14

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20         25.
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24         26.
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28         27.    The present arbitration proceedings are underway.
                                             6
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 1                                 CERTIFICATE OF SERVICE
 2         I hereby certify that on March 28, 2022 the within document was filed with the
 3
     Clerk of the Court using CM/ECF which will send notification of such filing to the
 4

 5   attorneys of record in this case.
 6
                                                        /s/ Allyson R. Bennett
 7                                                     ALLYSON R. BENNETT
 8

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            COMPEL ARBITRATION AND TO STAY LITIGATION / CASE NO. 2:22-CV-00209-
                                         GW-MRW
